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Rev. 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
)
VS. ) Criminal Case No.: 23-cr-00342-JEB
)
PETER KRILL, JR.
)
WAIVER OF INDICTMENT
L Peter Krill, Jr. , the above-named defendant, who is accused of

Civil Disorder, in violation of 18 U.S.C. § 231(a)(3)

being advised of the nature of the charge(s), the proposed information, and of my rights, hereby
waive in open court on JO : / O- ZO Zz. 4 prosecution by indictment and consent that

the proceeding may be by information rather than by indictment.

QW Ke

Defendant

lj
foun for Defehdant™

Before: “G0 sgq|_— Date: [4 } / 22

JAME ME$ E-BOASBERG

ake States District Judge

